                      Case 16-40877          Doc        Filed 11/09/21          Entered 11/09/21 15:41:53                      Desc Main
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Fill in this information to identify the case:

Debtor 1               Maria D. Ponce

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Northern                 District of Illinois
                                                                              (State)

Case number            16-40877



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 PennyMac Loan Services, LLC                      Court claim no. (if known):         3-1

Last four digits of any number you               XXXXXX7940                        Date of payment change:
use to identify the debtor’s account:                                              Must be at least 21 days after date of            12/1/2021
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any            $871.71

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:           $ 477.76                                      New escrow payment :          $ 382.82*

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        %                               New interest rate:          %

             Current principal and interest payment:       $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                            New mortgage payment:             $ _________




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 Debtor 1            Maria D. Ponce                                                 Case number (if known) 16-40877
                    First Name Middle Name     Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Karen A. Maxcy                                                                 Date     11/09/2021
     Signature

Print:         Karen                 A.                              Maxcy             Title    Authorized Agent for Creditor
               First Name            Middle Name                     Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                        GA                      30076
               City                           State                   ZIP Code

Contact phone      678-321-6965                                                        Email    Karen.Maxcy@mccalla.com



            *MI termination




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                                                       Bankruptcy Case No.: 16-40877
 In Re:                                                Chapter:             13
          Maria D. Ponce                               Judge:               Timothy A. Barnes

                                   CERTIFICATE OF SERVICE

      I, Karen A. Maxcy, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Maria D. Ponce
3624 W. 56Th Street
Chicago, IL 60629

Mohammed O Badwan                              (served via ECF Notification)
Sulaiman Law Group, LTD
2500 S. Highland Ave
Suite 200
Lombard, IL 60148

Marilyn O. Marshall, Trustee                   (served via ECF Notification)
224 South Michigan Suite 800
Chicago, IL 60604

U.S. Trustee                                   (served via ECF Notification)
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       11/09/2021       By:    /s/Karen A. Maxcy
                     (date)                Karen A. Maxcy
                                           Authorized Agent for Creditor
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